                       Case 7:20-mj-10484-UA Document 8 Filed 10/15/20 Page 1 of 1
                                                                                       SvutluTH District
                                                                                81 Main Strwt, Sw[v 300
OF NEW YORK/ INC                                                                White Piain.s, N,Y. 1060I
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Via E-mail and ECF

                                                       October 15, 2020



The Honorable Paul E 33avison
Magistrate Judge
Southern District of New York
300 Quarropas Street


                                                                                        lb (^ ^0
White Plains, NY 10601


             Re, U.S.v.GreggBrie
                             20 mj 10484


Dear Honorable Davison;

             1 am writing in regard to Gregg Brie and to request a one-week extension to provide
me with more time to file the confession of judgment paperwork relating to Mr. Brie s bond.
As a reminder, Mr, Brie was released pursuant to a $250,000 bond that was to be secured
by collateral, The bond has been signed by both Mr. Brie and his mother and the confession
of judgment paperwork relating to the bond and the collateral was signed and notarized
and a copy was provided to the Government. Unfortunately, I have not yet been able to file
the confession of judgment paperwork with the Westchester County Clerk's office. I have
been told that I need to utilize the state's electronic filing system, but thus far I have not
been able to actually file the paperwork. Under these circumstances I am asking for a one-
week extension (until October 21, 2020) to allow me with more time to file the confession of
judgment.

             I have spoken to AUSA Shiva Logarajah and he does not object to this request.

            Thank you very much for your consideration.




                                                       Respectfully,



                                                       Benjamin Gold
                                                      Assistant Federal Defender
ec: AUSA Shiva Logarajah
